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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

UNITED STATES OF AMERICA                )
                                        )
       v.                               ) CASE NO. 2:13-CR-159-WKW
                                        )             [WO]
DERRICK GADSDEN                         )

                                    ORDER

      Before the court are Defendant’s pro se Motion for Free Copies (Doc. # 242)

and pro se Motion to Reconsider the Pre-Mature Denial Order on Motion for

Compassionate Release (Doc. # 246). It is ORDERED that Defendant’s pro se

Motion for Free Copies (Doc. # 242) is GRANTED. The Clerk of the Court is

DIRECTED to mail a copy of the Government’s Response to Show Cause Order

(Doc. # 236) to Defendant’s address on file with the court. It is further ORDERED

that Defendant’s pro se Motion to Reconsider (Doc. # 246) is DENIED.

      DONE this 6th day of October, 2020.

                                          /s/ W. Keith Watkins
                                     UNITED STATES DISTRICT JUDGE
